                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

DEBRA COOPER, as Personal                     )
Representative of the Estate of               )
Christopher Beaty,                            )
                            Plaintiff,        )
                                              )
                          v.                  )             No. 1:22-cv-00917-TWP-KMB
                                              )
CITY OF INDIANAPOLIS, JOE HOGSETT, in         )
his individual and official capacity,         )
INDIANAPOLIS METROPOLITAN POLICE              )
DEPARTMENT, and                               )
RANDAL TAYLOR, in his individual and official )
capacity,                                     )
                                              )
                             Defendants.      )

                FINAL JUDGMENT PURSUANT TO FED. R. CIV. PRO. 58

       The Court having this day made its Entry directing the entry of final judgment, the Court

now enters FINAL JUDGMENT

       Judgment is entered in favor of Defendants on the § 1983 claim asserted in the Complaint

(Filing No. 1), and Count One is dismissed with prejudice. The Court relinquishes jurisdiction

over Plaintiff's remaining state law claim against the Defendants, and Count Two is dismissed

without prejudice.

       This action is TERMINATED.


Dated: 2/7/2023




Roger A.G. Sharpe, Clerk of Court

By: _____________________________
       Deputy Clerk
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